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                                    IN T H E UNITED STATES D I S T R I C T C O U R T
                                    FOR T H E NORTHERN D I S T R I C T OF T E X A S
                                                A B I L E N E DI VISION

JERRY Y O U N G ,                                              §
                                                               §
           Plaintiff,                                          §
                                                               §
v.                                                             8        No.

STATE F A R M LLOYDS,                                          §          J U R Y DEMAND
                                                               §

           Defendant.                                          §

                                         DEFENDANT'S NOTICE OF R E M O V A L

TO THE HONORABLE COURT:

           Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Lloyds ("State

Farm") files this Notice of Removal to the United States District Court for the Northern District

of Texas, Abilene Division, on the basis of diversity of citizenship and amount in controversy

and respectfully show:

                                                                   I.

                                 FACTUAL AND P R O C E D U R A L BACKGROUND

            1.          On January 19, 2015, Plaintiff Jerry Young filed his Original Petition in the

matter styled Jerry Young v. State Farm Lloyds, Cause No. 10325-D, in the 350th Judicial

District Court of Taylor County, Texas. The lawsuit arises out of a claim Plaintiff made for

damages to his property under an insurance policy with State Farm.

            2.          Plaintiff served State Farm with a copy of the Original Petition on or about

January 28, 2015.

            3.          Defendant State Farm files this Notice of Removal within 30 days of receiving

Plaintiffs pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is being filed

within one year of the commencement of this action. See id.
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            4.          All pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).                         A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiff. As required by 28

U.S.C. § 1446(a). and Rule 81.1 of the Local Rules for the United States District Court of the

Northern District of T exas, being filed simultaneously with the tiling of this Notice of Removal

is an Index of State Court Documents, which is attached hereto as Exhibit " A . " A copy of the

Register of Actions sheet is attached hereto as Exhibit "B." A copy of Plaintiffs Original

Petition is attached hereto as Exhibit "C." A copy of the Civil Case Information Sheet is

attached hereto as Exhibit "D." A copy of Plaintiff s letter requesting citation is attached hereto

as Exhibit "E." A copy of the Citation to Defendant State Farm Lloyds is attached hereto as

Exhibit "F." A copy of Defendant State Farm Lloyds' Original Answer to Plaintiffs Original

Petition is attached hereto as Exhibit "G." A copy of the Return of Service as to Defendant State

Farm Lloyds is attached hereto as Exhibit " H . " Also included with this filing are Defendant's

Certificate of Interested Persons, attached hereto as Exhibit " I , " and a Supplemental Civil Cover

Sheet.

            5.          Venue is proper in this Court under 28 U.S.C. §1441 (a) because this district and

division embrace Abilene County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                                   II.

                                                        BASIS F O R R E M O V A L

            6.          This Court has jurisdiction over this action under 28 U.S.C. § 1332 in that there is

diversity of citizenship between all parties in interest (Plaintiff and State Farm) and, as is

apparent from the face of Plaintiffs Original Petition and its Civil Case Information Sheet, the

value of the matter in controversy exceeds $75,000.00, exclusive of interest and costs. See Pi's
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Original Pet. ffif 69-70. attached hereto as Exhibit "C;" Civil Case Information Sheet, attached

hereto as Exhibit "D." Consequently. Defendant State Farm may remove this action pursuant to

28 U.S.C. §§ 1332 and 1446.

A. The Parties Are Of Diverse Citizenship

           7.         At the time this action was commenced, Plaintiff was, and still is, an individual

whose residence is located in Abilene, Taylor County, Texas, and Plaintiff is a citizen of the state

of Texas. See Pi's Original Pet. f 3, attached hereto as Exhibit "C."

           8.         Defendant State Farm, is, and was at the time the lawsuit was filed, a citizen of

the states of Illinois, Colorado and Pennsylvania.           State Farm Lloyds is a "Lloyd's Plan"

organized under Chapter 941 of the Texas Insurance Code.               It consists of an association of

underwriters, each of whom, at the time this action was commenced were, and still are, citizens

and residents of the states of Illinois, Colorado and Pennsylvania. Therefore, State Farm Lloyds

is a citizen and resident of the states of Illinois, Colorado and Pennsylvania for diversity

purposes. Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v.

State Farm Lloyd's Ins. Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998 ("the citizenship of State

Farm Lloyds must be determined solely by the citizenship of its members, or underwriters.");

Rappaport v. State Farm Lloyd's, 1998 WL 249211 (N.D. Tex. 1998) (finding that State Farm

Lloyd's is an unincorporated association whose members are completely diverse with Plaintiff,

and denying remand).

B. The Amount in Controversy Exceeds $75,000.00

           9.         This is a civil action in which the amount in controversy exceeds $75,000.00. In

its complaint, Plaintiff alleges a variety of claims arising from Defendant's "fail[ure] and

refus[al] to pay Plaintiff in accordance with its promises under the Policy." See Pi's Original



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Pet. f 11, attached hereto as Exhibit "C." Specifically, but without limitation. Plaintiff alleges

that Defendant State Farm was negligent, breach its contract, violated the Texas Deceptive Trade

Practices Act, violated the Texas Insurance Code, breached the common-law duty of good faith

and fair dealing, breached its fiduciary duty, committed unfair insurance practices, committed

misrepresentation, and committed common-law fraud by negligent misrepresentation. Plaintiff

alleges that it is seeking damages in excess of the minimum jurisdiction limits, and he

                                                                                                                     1
specifically appears to be seeking monetary relief over $200,000 but not more than $1,000,000.

See Pi's Original Pet. ]| 69, attached hereto as Exhibit "C." Plaintiff also makes claims for

additional damages and penalty interest. See id. at 1 70. The allegations in Plaintiffs Original

Petition establish that alleged damages exceed the amount in controversy threshold of

$75,000.00.

            10.         On Plaintiffs Civil Case Information Sheet, he has marked that he seeks damages

of "$200,000 but not more than $1,000,000." See Civil Case Information Sheet, attached hereto

as Exhibit "D." Thus, the representation on Plaintiffs Civil Case Information Sheet evidences

that alleged damages exceed the amount in controversy threshold of $75,000.00. Based on the

allegations set forth in Plaintiffs Original Petition and its Civil Case Information Sheet, the

amount in controversy in this case exceeds the $75,000.00 jurisdictional requirement

                                                          Conclusion and Prayer

            A l l requirements are met for removal under 28 U.S.C. §§ 1332, 1441, and 1446.

Accordingly, State Farm Lloyds hereby removes this case to this Court for trial and

determination.




1
 Plaintiff mistakenly avers that "Defendant seeks monetary relief..." when in fact it is Plaintiff that is seeking
damages, and Defendant is not seeking damages at this time.
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                                                               Respectfully submitted.

                                                               I si Rhonda J. Thompson
                                                               Rhonda J. Thompson
                                                               State Bar No. 24029862
                                                               Scott L. Rogers
                                                               State Bar No. 24064369

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                                                               COUNSEL FOR DEFENDANT
                                                               STATE F A R M LLOYDS


                                                    CERTIFICATE OF SERVICE


       This is to certify that on the 26th day of February, 2015, a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

            Bill L . Voss
            Scott G. Hunziker
            Clayton Hardin
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                   Counsel for Plaintiff

                                                               Is/ Rhonda J. Thompson
                                                               Rhonda J. Thompson




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